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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                             Case No. 24-CR-61 (RBW)

                 v.

  MATTHEW NORMAN BALLEK,

                  Defendant.


                                    [PROPOSED] ORDER

       Upon consideration of the United States’ Unopposed Motion for an Order Permitting the

Disclosure of Items Protected by Federal Rule of Criminal Procedure 6(e), it is hereby

       ORDERED that the Motion is GRANTED, and it is further

       ORDERED that the United States may provide in discovery materials protected by Federal

Rule of Criminal Procedure 6(e).



                                            ______________________________________
                                            The Honorable Reggie B. Walton
                                            United States District Judge
